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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :       Case No. 21-MJ-67 (ZMF)
                                            :
                                            :
              v.                            :
                                            :
KASH LEE KELLY,                             :
                                            :
                      Defendant.            :


                                    NOTICE OF FILING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully gives notice that undersigned counsel for the government has provided

counsel for the defendant discovery in the above-mentioned case as outlined in the government’s

attached discovery letter dated August 5, 2021.


                                                    Respectfully submitted,

                                                    CHANNING D. PHILLIPS
                                                    ACTING UNITED STATES ATTORNEY
                                                    D.C. Bar No. 415793

                                            By:     /s/ Emory V. Cole____________
                                                    EMORY V. COLE
                                                    Assistant United States Attorney
                                                    PA. Bar Number 49136
                                                    555 Fourth Street, N.W.
                                                    Washington, D.C. 20530
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                                                    Emory.Cole@usdoj.gov
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                                CERTIFICATE OF SERVICE

       On August 5, 2021, a copy of the foregoing notice and attached discovery letter were served

on defendant’s counsel through the Court’s Electronic Filing System with the listed attachments

provided to counsel through the means described in the discovery letter.


                                                    /s/ Emory V. Cole
                                                    Emory V. Cole
                                                    Assistant United States Attorney




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